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   ~0245B        (Rev. 9100) Judgment in a Criminal Case
                 Sheet 1

                                             UNITED STATES DISTRICT COUR
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                   UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAIJ ASE
                                       v.                                        (For Offenses Committed On or After November 1, 1987)

                          BRETT A. COHEN [2]                                     Case Number: IOCR4832-BTM
                                                                                  BEN COLEMAN
                                                                                 Defendanfs Attorney
   REGISTRATION NO.

   D
   THE DEFENDANT:
   181 pleaded guilty to count(s)..::.1.-.:0;.;;F_T;.;;H.;;;E;;..I:.;.N..::.F...;;O..::.RM=A..::.T;.;;I.:;.O.;;..;N~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   D was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         after a plea of not guilty .
         Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
   Title & Section                          Nature of OtTense                                                                              Numberls)
18USC371                            CONSPIRACY TO COMMIT SECURITIES FRAUD                                                                       I




           The defendant is sentenced as provided in pages 2 through _ _--::.5___ of this judgment. The sentence is imposed pursuant
   to the Sentencing Reform Act of 1984.
   D The defendant has been found not guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   o Count(s) _ _ _ _ _ _ _ _ _ _ _ _ __                                    is 0 areDdismissed on the motion of the United States.
   181 Assessment: $100.00 to be paid forthwith.


   181 Fine $500.00                          0 Forfeiture pursuant to order filed                                     , included herein.
             IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
    defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.


                                                                                  DECEMBER 5, 2011
                                                                                 Date ofImposition of Sentence




                                                                                           Y TED MOSKOWITZ
                                                                                 UNITED STATES DISTRICT JUDGE


                                                                                                                 IOCR4832-BTM
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AO 2458 (CASD) (Rev. 8/11)
           Sheet 2 -- Probation
                                                                                                         Judgment-Page       2    of   _ _5_ __
DEFENDANT: BRETT A. COHEN [2]
CASE NUMBER: lOCR4832-BTM
                                                                PROBATION
The defendant is hereby sentenced to probation for a term of:

 THREE (3) YEARS.

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13. 1994:                                               UNITED STATES DISTRICT JUDGE
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 2 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check. if applicable.)
       The defendant shall not possess a firearm, ammunition. destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).




D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shaH
also comply with the special conditions imposed.

                                     ST ANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling. training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not as soc iate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shaH permit confiscation of
        any contraband observed in plain view of the probation officer;
 II)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
        officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's
        criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
        the defendant's compliance with such notification requirement.



                                                                                                                                 lOCR4832-BTM
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                    Sheet 4 Special Olnditions
                                                                                                         Judgment~Page   ---1.- of _-::;..5_ _
       DEFENDANT: BRETT A. COHEN [2]                                                              a
       CASE NUMBER: lOCR4832-BTM




                                                SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion ofcontraband or evidence ofa violation ofa condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to t


D
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented alien smugglers.
D Not reenter the United States illegally.
D Not enter the Republic of Mexico without written pennission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.
181 Make restitution as set forth on page 4 of this Judgement forthwith.


181 Pay a fine in the amount of $500.00, to be paid within 30 days.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
o Officer.
  Reside in a Residential Reentry Center (RRC) as directed by the probation officer for period of
                                                                                           a             120 days at the direction of the Probation


181 Seek and maintain full time employment and/or schooling or a combination of both.
D Obtain GED or a High school degree within 12 months.
181 Complete 200 hours of community service in a program approved by the probation officer within 18 Months.
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 lfthe defendant has complied with all conditions of Supervised Probation for 2 Years, Supervised Probation may be tenninated on
    application to the Court and good cause shown.
o him,
  NotifY the Collections Unit, United States Attorney's Office, before transferring any interest in any property owned directly or indirectly by
       including any interest held or owned under any other name or entity, including trusts, partnerships orcorporations, until fine or
    restitution is paid in full.




                                                                                                                                    lOCR4832-BTM
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AO 245S     Judgment in Criminal Case
            Sheet 5 - Criminal Monetary Penalties

                                                                                                     Judgment ­ Page _ _4__ of     5
 DEFENDANT: BRETT COHEN [2]                                                                   D
 CASE NUMBER: 10CR4832-BTM
                                                              RESTITUTION
                                                                                                  as set forth below
The defendant shall pay restitution in the amount of _ _ _$_I_85_,_42_0_,_00_ _ _ tlftt6 ~e Uatfeti States efA.mariea,




          This sum shall be paid _             immediately,
                                          K    as follows:
           The defendant shall make restitution through the Clerk of the Court jointly and severally with Codefendants in this case
           and Codefendants in USDC-S/CA case 11 cr0522-BTM in the amount of $185,420.00 to be paid to the following persons
           in the following amounts:
                                   Citadel Securities             $ 5,130.00
                                   Cutler Group                   $79,365.00
                                   Susquehanna Securities         $82,275.00
                                   Toro Trading, LLC              $18,650.00




        The Court has determined that the defendant       does       have the ability to pay interest. It is ordered that:

             The interest requirement is waived

    "        The interest is modified as follows:


            Interest is waived on this criminal Judgment only ifthe restitution is fully paid within 24 months.




                                                                                                    IOCR4832-BTM
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AO 245S      Judgment in Criminal Case
             Sheet 5 - Criminal Monetary Penalties

                                                                                              Judgment - Page _...;5__ of   5

 DEFENDANT: BRETT COHEN [2]                                                             D
 CASE NUMBER: 10CR4832-BTM
                                                                   FINE

          The defendant shall pay a fine in the amount of____$_5_0_0_.0_0____unto the United States of America.




          This sum shall be paid __ immediately.
                                  x as follows:

           Within THIRTY (30) Days.




          The Court has determined that the defendant _doe_s_ _ have the ability to pay interest. It is ordered that:

   ~ The interest requirement is waived. I f paid wi thin 30 Days


            The interest is modified as follows:




                                                                                             10CR4832-BTM
